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By ECF

The Honorable Vincent L. Briccetti
United States District Court
Southern District of New York
300 Quarropas Street
White Plains, NY 10601-4150


       Re:     In re: HBL SNF, LLC, Case No. 22-cv-06254 (VB)

Dear Judge Briccetti:

         We write jointly on behalf of all parties to the above-referenced appeal to provide a status
report. The parties have reached a global resolution in principle of all issues in the case subject
to final documentation. The terms of the settlement in principle contemplate that the issues on
appeal will be resolved as part of an overall plan of reorganization to be filed with the
Bankruptcy Court on Monday, August 29, 2022.

        We respectfully request that the appeal be stayed while the parties finalize and move
forward with the settlement as part of a plan of reorganization and request that the Court set a
further deadline at the end of September for the parties to further advise the Court as to the status
of the settlement.


                                              Respectfully,

                                              /s/ Eric B. Fisher
                                              Eric B. Fisher


cc:    Counsel of Record (by ECF and email)
